     CASE 0:15-cr-00164-DSD-BRT           Doc. 117    Filed 10/13/15    Page 1 of 44




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


United States of America,
                                                        Crim. No. 15-164 (DSD/BRT)
                      Plaintiff,

v.
                                                               REPORT AND
Houston Oliver (1),                                         RECOMMENDATION
James Green (2),

                      Defendants.


LeeAnn K. Bell, Esq., United States Attorney’s Office, counsel for Plaintiff.

Larry E. Reed, Esq., Reed Law Offices, counsel for Defendant Oliver.

DeAundres D. Wilson, Esq., Wilson Law Office, PA, counsel for Defendant Green.


BECKY R. THORSON, United States Magistrate Judge.

       Defendants Houston Oliver and James Green have, along with Desmond Williams,

been indicted for conspiring to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1)

and 846. Oliver now moves to suppress six kilograms of cocaine, five cell phones, and

assorted documentary evidence seized during the execution of separate search warrants

for his residence, hotel room, BMW, and other properties. (See Doc. No. 74, Oliver’s

Am. Mot. to Suppress; Doc. No. 99, Oliver’s Mem. in Supp. of Mot. to Suppress.) He

contends that the narcotics were the fruit of an unlawful roadside stop, search, and seizure

of his BMW; that the warrants to search the various premises and cell phones are facially

invalid because the supporting affidavits did not provide probable cause to believe that
     CASE 0:15-cr-00164-DSD-BRT            Doc. 117     Filed 10/13/15    Page 2 of 44




contraband or evidence of crime would be found in those locations; and that officers

exceeded the scope of the search warrant for his hotel room when they seized the five cell

phones, none of which were specifically mentioned in the warrant. (See Doc. No. 99 at 1–

17, 27–28, 30–32.) Oliver has also moved for a hearing under Franks v. Delaware, 438

U.S. 154 (1978), to challenge alleged omissions or misrepresentations contained in the

affidavits used to secure the search warrants. (Doc. No. 103, Oliver’s Mot. for a Franks

Hr’g; Doc. No. 104, Oliver’s Mem. in Supp. of Mot. for a Franks Hr’g.) Green, for his

part, moves to suppress both the cell phone seized incident to his arrest, claiming that the

arrest was not supported by probable cause, and his subsequent statements to the police,

claiming that the interrogating officers failed to honor the invocation of his right to

remain silent. (See Doc. No. 54, Green’s Mot. to Suppress Evid.; Doc. No. 55, Green’s

Mot. to Suppress Statements; Doc. No. 81, Green’s Suppl. Mot. to Suppress Evid.; Doc.

No. 100, Green’s Mem. in Supp. of Mot. to Suppress Evid.)

       An evidentiary hearing on the suppression motions was held on August 25, 2015,

during which the government introduced the relevant search warrants; video recordings

of the roadside stop, search, and seizure of Oliver’s BMW; and the testimony of

Minnesota State Trooper Megan Thul and Minneapolis Police Officer Danielle Evans.

(See Doc. Nos. 92, 107.) Based on the evidence presented at the hearing, and for the

reasons detailed below, this Court recommends that Oliver’s motions to suppress and for

a Franks hearing, as well as Green’s motions to suppress evidence and statements, be

denied.



                                              2
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 3 of 44




                                I. FACTUAL HISTORY

       On November 25, 2014, Sergeant John Biederman of the Minneapolis Police

Department was contacted by a longtime confidential informant (“CI”) and advised that

Houston Oliver would be shipping cocaine from Arizona to Minneapolis via two-day

priority mail. (See Doc. No. 92, 8/25/15 Hr’g, Gov’t Ex. 2 at 2 & Gov’t Ex. 6 at 2; Doc.

No. 107, 8/25/15 Mot. Hr’g Tr. [hereinafter “Tr.”] 78, 80.) The CI stated that Oliver had

recently purchased cocaine and that, in the past, he had mailed cocaine packaged in

silverware boxes from a particular post office in Maricopa, Arizona, with the help of

James Green and Desmond Williams. (See Gov’t Ex. 2 at 2; Tr. at 78–80, 104–05.) Given

the CI’s proven track record over the “last several years,” which included supplying

information that led to evidence, arrests, and felony convictions, Sergeant Biederman

considered the information to be reliable and passed it along to Minneapolis Postal

Inspector John Western. (See Gov’t Ex. 2 at 2.)

       Armed with the CI’s information, Western intercepted two priority-mail packages

shipped from Arizona to Minneapolis, one of which originated from the identified post

office in Maricopa, and both of which were the same approximate weight and size and

appeared to be addressed in identical handwriting. (Id.) After a trained canine alerted to

the presence of narcotics, Western obtained a search warrant for the two packages on

November 26, 2014, and soon discovered that each one contained approximately two

kilograms of cocaine concealed inside a silverware box, just as the CI had predicted. (Id.;

Tr. 79–80.)



                                             3
     CASE 0:15-cr-00164-DSD-BRT            Doc. 117      Filed 10/13/15   Page 4 of 44




       Following the seizure of those four kilograms of cocaine, Sergeant Biederman and

Minneapolis Police Officer Danielle Evans contacted Desmond Williams, who

voluntarily came in for an interview on November 30, 2014. (See Gov’t Ex. 2 at 2; Tr.

80–81, 105–06.) Biederman and Evans had over a decade of police experience each and

were assigned to investigate weapons and narcotics offenses. (See Gov’t Ex. 2 at 2; Gov’t

Ex. 6 at 2; Tr. at 74.) During his initial interview with the police, Williams corroborated

the CI’s information about the intercepted packages, admitted to mailing one of those

packages, and indicated that Green had mailed the other one. (Tr. at 81; Gov’t Ex. 2 at 2.)

Williams also stated that he and Green were present when Oliver packaged the drugs at

an Arizona home and that Oliver had supplied him with a cell phone to use for drug-

related business. (See Tr. at 81, 108–09; Gov’t Ex. 2 at 2; Gov’t Ex. 6 at 2.)

       Around the same time, the Minneapolis police received further information from

the CI that Oliver was going to transport a large quantity of cocaine from Arizona to

Minnesota in a gray BMW with Minnesota plates; the drugs were slated to arrive in

Minneapolis on the night of November 30, 2014. (See Gov’t Ex. 2 at 2; Tr. at 75, 81.) A

check of Oliver’s motor vehicle records confirmed that he owned a 2002 BMW 745li

with Minnesota plates 672CAZ. (Gov’t Ex. 2 at 2; Tr. at 82, 87.) Sergeant Biederman

issued an alert that the BMW was suspected of transporting drugs; law enforcement

officials, including Minnesota State Trooper Megan Thul, surveilled Interstate 35W in an

effort to intercept the car. (Gov’t Ex. 2 at 2; Tr. at 54, 60–61, 82.)

       Shortly before 10:00 p.m. on November 30, 2014, Trooper Thul spotted the BMW

on I-35W in Minneapolis, observed that it had illegally tinted windows, and proceeded to

                                               4
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 5 of 44




stop the car. 1 (See Tr. at 54–55, 60–62, 64; Gov’t Exs. 8–9. 2) Although the BMW was

registered to Oliver, a man named Sherrod Rowe was the driver and sole occupant of the

car when Thul pulled it over. (See Tr. at 39, 54–55, 75; Gov’t Ex. 2 at 2–3; Gov’t Ex. 6 at

2.) Thul asked Rowe a series of routine questions for several minutes, including where he

was coming from and going to, before returning to her squad car to conduct routine

traffic checks. (See Tr. at 55, 62; Gov’t Ex. 8.) Thul advised another officer on the scene,

Bloomington Police Officer Christopher Wegner, that she was going to “start [Rowe’s]

warning so we’re not detaining him any longer than necessary,” at which point Wegner

proceeded to question Rowe about his itinerary for several more minutes. (See Gov’t

Exs. 8–9.) In response to the officers’ questions, Rowe stated that he had flown from

Minnesota to Arizona a few days earlier, picked up Oliver’s BMW, and then driven the

car back to Minnesota, where he intended to phone Oliver to arrange for its delivery. (See

Gov’t Exs. 8–9; Gov’t Ex. 2 at 2.)

       Approximately twenty-five minutes into the traffic stop, and after he refused to

consent to a search of the BMW, Rowe was removed from the car, handcuffed, and

placed in the back of a squad car. (See Tr. at 56, 63, 66–67, 90; Gov’t Ex. 8.) Officer

1
      At the evidentiary hearing, Thul testified that officers had been directed to stop the
BMW because it was believed to be involved in drug trafficking, but that she liked to
“develop [her] own reasonable suspicion and probable cause” and stopped the BMW
“based on the window tint violation” that she had observed. (Tr. at 54–55, 60–62.) Her
subsequent police report stated that the BMW had a “very dark window tint” and that she
“stopped the vehicle based on this violation.” (Id. at 62.)
2
       Video recordings of the traffic stop were captured by both Trooper Thul and
Bloomington Police Officer Christopher Wegner; the two videos have been included in
the record as government exhibits 8 and 9.

                                             5
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 6 of 44




Evans, who was en route and in radio communication with the officers on the scene,

determined that there was probable cause to impound the BMW based on the CI’s

corroborated statements and she directed officers to do so. (Tr. at 71, 82–83.) The officers

told Evans that they intended to run a narcotics dog around the car before it was towed;

although Evans was not herself interested in a canine search, she responded that

conducting one would be fine because the BMW was going to be impounded regardless

of what a dog sniff revealed. (See id. at 83, 93; Gov’t Ex. 9.) While awaiting the arrival

of the tow truck, officers conducted a brief search of the BMW’s interior with the aid of a

drug-sniffing dog, which alerted to the possible presence of narcotics inside a speaker in

the trunk. (See Tr. at 66, 70–71, 93–94; Gov’t Ex. 8.) At the evidentiary hearing, Officer

Evans categorized the search as a routine inventory search for valuables, cash, and other

items that “might be stolen or otherwise compromised by being in the impound lot.”

(Tr. at 84–85.) Nothing of value was uncovered or seized during the roadside search and,

notwithstanding the canine alert, the BMW’s speakers were not searched at that time.

(Id.) The BMW was towed to an impound lot just under an hour after it was first stopped.

(See Gov. Ex. 8.) The following day, December 1, 2014, Williams notified Sergeant

Biederman that Oliver was “hysterical” over the fact that law enforcement had stopped

his BMW and taken its driver into police custody. (See Gov’t Ex. 2 at 2; Tr. at 99.)

       On the morning of December 2, 2014, Sergeant Biederman secured a warrant to

search Oliver’s impounded BMW for narcotics, “[i]tems that show responsibility for

narcotics” and “a connection between the narcotics or vehicle with an address or person,”

and “[d]ocuments, mailings, keys, address books, cell phones (and content), receipts,

                                             6
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 7 of 44




bills, rental agreements, photographs, notes and other media.” (Gov’t Ex. 1 at 4–5.)

Officers promptly executed the search warrant and found six kilograms of cocaine hidden

inside a speaker in the trunk of the BMW, a receipt in Green’s name for new tires

purchased on November 28, 2014, a cell phone, and documents addressed to Oliver at

particular addresses on Dupont Avenue North and Washington Avenue in Minneapolis.

(See id. at 5; Gov’t Ex. 2 at 2–3; Tr. at 100.) That was the first time that any contraband

was actually found in and seized from the BMW. (Tr. at 84–85, 96–97, 99.)

       Sergeant Biederman and Officer Evans then re-interviewed Williams, who

indicated that Oliver had recently phoned him and, in coded language, stated that six

bricks of cocaine were in the BMW when it was stopped. (Gov’t Ex. 2 at 2; Tr. at 101–

02.) Williams also told the officers that Oliver lived in a home on Dupont Avenue North,

owned a second-story loft on North Washington Avenue, owned another building on

West Broadway Avenue where Green had been living, and was currently staying with his

girlfriend in a Minneapolis hotel. (See Gov’t Ex. 5 at 3.) Sergeant Biederman confirmed

Oliver’s connection to those properties and determined that his girlfriend had rented

Room 134 at a Marriott Hotel. (Id.)

       Later that day, Sergeant Biederman obtained four additional warrants to search

Oliver’s Dupont Avenue home, Washington Avenue loft, West Broadway Avenue

building, and Marriott Hotel room for narcotics; cash and proceeds from the sale of

narcotics; and documents, mailings, photographs, keys, address books, notes, receipts,

ledgers, and “other media that shows standing at an address, responsibility for a vehicle,

connections between persons, the location of the proceeds from the sale of narcotics, or

                                              7
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 8 of 44




that a crime has been committed.” (See Gov’t Exs. 2–5.) The warrants for the addresses

on Dupont, Washington, and West Broadway Avenues also expressly authorized the

seizure of cell phones; the warrant for the Marriot Hotel room did not. (See id.).

       Sergeant Biederman’s affidavits in support of all four search warrants were

virtually identical and recounted the information provided by the CI; the CI’s track record

over the last several years; Williams’ statements and “confirm[ation] of the [CI’s]

information concerning the packages being dropped off at the post office, the way they

were packaged, and those involved”; and the other investigative efforts corroborating the

CI’s information, including the two packages of cocaine intercepted by postal inspectors,

the traffic stop of Oliver’s BMW on November 30, 2014, and the subsequent recovery of

six kilograms of cocaine from the trunk. (Id.) The affidavits did not identify Williams by

name, instead describing him as “one of the people involved in dropping the packages off

at the post office” who had spoken to the police on November 30, December 1, and

December 2, 2014. (See, e.g., Gov’t Ex. 2 at 2–3.) They did, however, include Sergeant

Biederman’s averment that, based on his training, experience, and conversations with

other officers, drug traffickers often keep relevant records, documents, and cash proceeds

in their homes, offices, and other premises that “they own or control.” (Id. at 3; Gov’t Ex.

3 at 3; Gov’t Ex. 4 at 3; Gov’t Ex. 5 at 3.) The state judge who issued the warrants found

probable cause to believe that the listed items were either contraband or would contain




                                             8
      CASE 0:15-cr-00164-DSD-BRT            Doc. 117   Filed 10/13/15    Page 9 of 44




evidence of a crime, and that they would be found in the premises under Oliver’s

control. 3 (See, e.g., Gov’t Ex. 2 at 5.)

       Police officers executed the four premises warrants between 4:00 p.m. and 7:00

p.m. on December 2, 2014, beginning with the Marriott Hotel room. (See id. at 6; Gov’t

Ex. 3 at 6; Gov’t Ex. 4 at 6; Gov’t Ex. 5 at 6.) Oliver was in the hotel room at the time

and placed under arrest. A search of his person incident to that arrest uncovered cash, an

identification card, and some credit cards. (See Tr. at 33–34; Gov’t Ex. 5 at 6.) Officers

also seized five cell phones that were found on the bed in the hotel room, various

documents, and a small amounted of suspected marijuana. (See Gov’t Ex. 5 at 6; Gov’t

Ex. 6 at 2.) During the execution of the search warrants for Oliver’s Dupont Avenue

home and Washington Avenue loft, officers seized various documents, pieces of mail, a

bank deposit bag, and a priority mail box. (Gov’t Ex. 2 at 6; Gov’t Ex. 4 at 6.) And from

the West Broadway Avenue building owned by Oliver and occupied by Green, officers

seized documents, two cell phones, and prescription bottles in Green’s name. (Gov’t

Ex. 3 at 6; Gov’t Ex. 6 at 2.) No narcotics or firearms were found at any of the four

premises searched by the police. (See Tr. at 114.) Green was arrested at approximately

4:30 p.m., sometime during the search of Oliver’s hotel room, and a cell phone was


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       The search warrants for the four premises were issued as no-knock warrants based
on statements from the CI that Oliver had access to firearms and was capable of killing
someone, the seriousness of the drug-trafficking crime that Oliver was suspected of
committing, and Williams’ statement that Oliver was “hysterical” about the interdiction
of his BMW, all of which led Sergeant Biederman to believe that unannounced entries
were necessary to prevent Oliver from “doing something drastic and violent to avoid
apprehension.” (See, e.g., Gov’t Ex. 2 at 4–5.)

                                              9
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 10 of 44




seized incident to his arrest. (See id. at 110–11.) He was interviewed the following day,

December 3, 2014, at the Hennepin County Jail by Sergeant Biederman and Officer

Evans. (See id. at 111; Gov’t Ex. 7.)

       Nearly three weeks later, on December 23, 2014, Officer Evans secured a warrant

to search the numerous cell phones recovered by the police during their investigation,

including the cell phone seized incident to Green’s arrest and the five cell phones found

on the bed at the Marriott Hotel. (Gov’t Ex. 6.) Evans’ supporting affidavit detailed the

narcotics investigation into Oliver, Green, and Williams, including the information

supplied by the CI, the packages of cocaine intercepted by postal inspectors, Williams’

statements that Oliver and Green were involved in the packaging and shipment of the

cocaine, and the six kilograms of cocaine recovered from Oliver’s BMW. (Id. at 2.) The

affidavit also attested to the CI’s reliability, noting that the informant had provided

accurate information in the past which had led to “evidence, arrests and convictions.”

(Id.) Based on her fourteen years of experience as a police officer and conversations with

other law enforcement officials, Evans averred that the cell phones might contain data

relevant to the drug-trafficking investigation, including data showing that Oliver, Green,

Williams, and Rowe had “been in communication with each other during relevant times

in the drug conspiracy or otherwise know each other.” (Id.) The state judge who issued

the warrant found probable cause to believe that the cell phones were either used in the

commission of a crime or would contain evidence tending to show that a crime had been

committed. (Id. at 4.) While it is clear that the cell phones were searched pursuant to the



                                              10
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 11 of 44




December 23, 2014 warrant, there is nothing in the record about the results of those

searches. (See id. at 6.)

                             II. Oliver’s Motion to Suppress

       In his post-hearing memorandum, Oliver seeks to suppress the narcotics, cell-

phone data, and documentary evidence uncovered during the police investigation on three

principal grounds. 4 First, Oliver contends that the cocaine recovered from his BMW was

the fruit of an unlawful roadside stop, search, and seizure of the vehicle without a warrant

or probable cause. (Doc. No. 99 at 1–8, 28–29.) Second, he challenges the facial validity

of the warrants to search the various premises under his control, as well as the validity of

the subsequent warrant to search the contents of the cell phones seized by the police. (Id.

at 1–2, 11–17, 27, 31.) Third, he contends that the cell phones seized from his hotel room

exceeded the scope of the relevant search warrant and were the fruit of his unlawful,


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        Throughout his post-hearing memorandum, Oliver invokes Minnesota law and
cites the Supreme Court’s decision in Elkins v. United States, 364 U.S. 206 (1960), for
the proposition that evidence seized in violation of state law is not admissible in federal
court. (See Doc. No. 99 at 20, 24–25.) As this Court previously explained to Oliver,
“federal courts in a federal prosecution do not suppress evidence that is seized by state
officers in violation of state law, so long as [the officers’ actions] complied with the
Fourth Amendment.” (Doc. No. 96 at 15–16 n.2 (quoting United States v. Bach, 310 F.3d
1063, 1066 (8th Cir. 2002)); see also United States v. Maholy, 1 F.3d 718, 721 (8th Cir.
1993) (“When evidence obtained by state law enforcement officers is offered in a federal
prosecution, the legality of the search and seizure is not determined by reference to a state
statute [or state procedural rule], but rather is resolved by fourth amendment analysis.”).
Rather than contradicting this principle, Elkins supports it. See 364 U.S. at 223–24
(“[W]e hold that evidence obtained by state officers during a search which, if conducted
by federal officers, would have violated the defendant’s immunity from unreasonable
searches and seizures under the Fourth Amendment is inadmissible . . . . The test is one of
federal law, neither enlarged by what one state court may have countenanced, nor
diminished by what another may have colorably suppressed.”) (emphasis added).

                                             11
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 12 of 44




warrantless arrest. (Id. at 2, 10–11, 30–31.) Oliver also moves for a Franks hearing,

claiming that the state judge who issued the warrants for his BMW, premises, and cell

phones was misled by material omissions in the supporting warrant affidavits. (See Doc.

Nos. 103–04.)

A.     The Stop, Search, and Seizure of the BMW

       Oliver first moves to suppress the six kilograms of cocaine seized from his BMW,

claiming that it was the fruit of an unconstitutional roadside stop, search, and seizure of

the vehicle without a warrant or probable cause. (Doc. No. 99 at 1–3, 28.) Oliver

specifically challenges the justification, scope, and duration of the November 30, 2014

traffic stop of his BMW, arguing that the stop and questioning of the driver were

unrelated to any window tint or other traffic violation but, in actuality, were directed at

uncovering narcotics and justifying a search of the BMW. (Id. at 2–7.) Believing that the

six kilograms of cocaine were actually discovered and seized prior to the December 2,

2014 search of his impounded BMW, Oliver maintains that the police attempted to

retroactively legitimize the seizure by later obtaining a warrant to search the vehicle. (Id.

at 7–8, 28–29.) The government responds that Oliver does not have standing under the

Fourth Amendment to challenge the initial traffic stop of his BMW, as he was not in the

car at the time, and that he has otherwise failed to meet his burden of showing that he has

standing to challenge the roadside search and ultimate impoundment of the car. (Doc. No.

108, Gov’t Resp. to Oliver’s Mot. to Suppress 7–8.) Alternatively, the government argues

that there was probable cause to justify the stop, search, and seizure of the BMW based

on the information supplied by the CI, who had a track record of providing accurate

                                             12
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117    Filed 10/13/15     Page 13 of 44




information to the police and whose information in this case was thoroughly

corroborated. (Id. at 8–11.)

       The Fourth Amendment protects persons against “unreasonable searches and

seizures,” and typically requires a warrant based on probable cause. U.S. Const. amend.

IV. Searches and seizures conducted without a warrant are per se unreasonable unless

they fall within an “established and well-delineated exception[]” to the Fourth

Amendment’s warrant requirement. Arizona v. Gant, 556 U.S. 332, 338 (2009) (quotation

omitted). Nevertheless, because “Fourth Amendment rights are personal and may not be

vicariously asserted,” United States v. Ruiz-Zarate, 678 F.3d 683, 689 (8th Cir. 2012), a

defendant has no standing to “use the violation of another individual’s rights as the basis

for his own Fourth Amendment challenge,” United States v. Rodriguez-Arreola, 270 F.3d

611, 616 (8th Cir. 2001). In addressing issues of Fourth Amendment standing, “it is

important to distinguish between different government intrusions that implicate different

constitutionally protected interests.” United States v. Powell, 929 F.2d 1190, 1194 (7th

Cir. 1991). For Fourth Amendment purposes, searches of places and things implicate an

individual’s reasonable expectation of privacy, while seizures of property entail “some

meaningful interference with an individual’s possessory interests in that property.”

United States v. Jacobsen, 446 U.S. 109, 113 (1984). Seizures of persons, by contrast,

implicate an individual’s freedom from physical restraint, see Brendlin v. California, 551

U.S. 249, 254 (2007), and traffic stops in particular implicate a person’s “right to be free

from random, unauthorized investigatory seizures,” United States v. Fuller, 374 F.3d 617,

620 (8th Cir. 2004).

                                             13
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 14 of 44




       Here, Oliver has no standing to object to the investigatory traffic stop of his

BMW, as he was not in the car at that time. Although Oliver is the registered owner of

the BMW, “ownership of a vehicle is largely irrelevant to the question of whether a given

defendant has standing to challenge the stop of that vehicle,” Powell, 929 F.2d at 1194,

because a traffic stop only implicates the occupants’ rights to be “free from random,

unauthorized investigatory seizures” and “does not significantly impair the interests of

the person who lent the automobile” to a third party, Fuller, 374 F.3d at 620–21. Thus, in

United States v. Fuller, the Eighth Circuit held that the owner of a vehicle driven by his

stepson could not challenge the stop of that vehicle because the “right to be free from

random, unauthorized investigatory seizures . . . . belong[ed] to the stepson” and the

owner had no “reasonable expectation of a possessory interest” in the vehicle while it was

in his stepson’s possession. 374 F.3d at 620–21. Other courts have likewise held that

“[v]ehicle owners absent at the time their vehicle is stopped cannot challenge the stop”

because “[a] mere proprietary interest in the vehicle does not suffice for Fourth

Amendment standing to challenge a traffic stop.” United States v. Gonzalez, No. 13-cr-

20813, 2014 WL 6606590, at *13 (E.D. Mich. Nov. 19, 2014); see also Powell, 929 F.2d

at 1195 (holding that “a vehicle owner who is not in his car at the time it is stopped”

generally lacks standing to challenge the stop because “the intrusion a vehicle stop causes

is personal to those in the car when it occurs”); United States v. Elmore, 304 F.3d 557,

561 (6th Cir. 2002) (holding that the defendant did not have standing to object to a traffic

stop because he was not in the vehicle at the time and the stop did not meaningfully

interfere with any possessory interest that he had in the car). Accordingly, Oliver lacks

                                             14
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 15 of 44




standing to challenge the traffic stop of his BMW, including the justification, scope, and

duration of the stop, because it only implicated the Fourth Amendment rights of its driver

and sole occupant, Sherrod Rowe.

       While an absent owner’s proprietary interest in a vehicle does not afford him

standing to challenge an investigatory traffic stop of that vehicle, it may allow him to

challenge a subsequent search and full-fledged seizure of the car depending on the

particular facts of the case. See Fuller, 374 F.3d at 621 (differentiating between an absent

owner’s standing to challenge an investigatory stop of his vehicle, a search of that

vehicle, and a “full-fledged seizure[]” of the vehicle); Powell, 929 F.2d at 1195–96

(similar); Gonzalez, 2014 WL 6606590, at *13 (explaining that while ownership does not

confer standing to challenge the stop of a vehicle driven by another, “[n]o bright line rule

exists regarding the standing of a vehicle owner to challenge the search of his vehicle”). 5

Assuming, without deciding, that Oliver’s ownership of the BMW gives him standing to

challenge its roadside search and eventual seizure (i.e., impoundment), those actions were

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       In United States v. Gomez, a case dealing with cocaine seized during a vehicle
search, the Eighth Circuit explained that whether a defendant has standing to challenge a
search and full-fledged seizure of property depends on several factors, including
“ownership, possession and/or control of the area searched or item seized; historical use
of the property or item; ability to regulate access; the totality of the circumstances
surrounding the search; the existence or nonexistence of a subjective anticipation of
privacy; and the objective reasonableness of the expectation of privacy considering the
specific facts of the case.” 16 F.3d 254, 256 (8th Cir. 1994). While Oliver relies on
Gomez in asserting that he has standing to challenge not only the search and
impoundment of his BMW, but of the initial traffic stop as well, that reliance is
misplaced because Gomez did not deal with standing to challenge a traffic stop and the
factors it articulated specifically relate to vehicle searches. (See Doc. No. 99 at 8–9.)
Moreover, as the Eighth Circuit made clear in Fuller, an absent vehicle owner has no
standing to challenge an investigatory stop of his car.

                                             15
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15      Page 16 of 44




objectively justified under at least one of the established exceptions to the Fourth

Amendment’s warrant requirement — the automobile exception.

       Under the automobile exception, the police may search and seize a vehicle

without a warrant if they have probable cause to believe that contraband or evidence of a

crime will be found inside. See California v. Acevedo, 500 U.S. 565, 579–80 (1991);

United States v. Vore, 743 F.3d 1175, 1179 (8th Cir. 2014); United States v. Sims, 424

F.3d 691, 693 (8th Cir. 2005). Because the subjective motives and intentions of officers

have no place in Fourth Amendment analysis, which asks only whether the officers’

actions were objectively reasonable, the validity of an automobile search does not depend

on whether “the ostensible ground for the search was different and improper” and the

existence of probable cause does not hinge “on what the particular officers involved

believed but on what a reasonable officer in their position would have believed.” United

States v. Cervantes, 19 F.3d 1151, 1153–54 (7th Cir. 1994); see also Brigham City, Utah

v. Stuart, 547 U.S. 398, 404 (2006) (explaining that subjective motives and intent are

“irrelevant” because “[a]n action is reasonable under the Fourth Amendment, regardless

of the individual officer’s state of mind, as long as the circumstances, viewed objectively,

justify the action”) (quotations and brackets omitted) (emphasis in original); McClendon

v. Story Cnty. Sheriff’s Office, 403 F.3d 510, 515 (8th Cir. 2005) (“[A]n officer’s

subjective intent is never relevant under a Fourth Amendment analysis, so long as an

objective basis for the [challenged action] exists.”). Probable cause exists when, under

the totality of the circumstances, “there is a fair probability that contraband or evidence

of a crime will be found in a particular place.” Vore, 743 F.3d at 1179.

                                             16
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117    Filed 10/13/15     Page 17 of 44




       Before Oliver’s BMW was even stopped on the interstate, the police had ample

probable cause to believe that narcotics or other evidence of a drug-trafficking crime

would be found in the vehicle, thus justifying the warrantless search and seizure of the

car under the automobile exception. Where, as here, “probable cause depends on

information supplied by an informant, the core question is whether the information is

reliable.” United States v. Dukes, 758 F.3d 932, 937 (8th Cir. 2014) (quotation and

alterations omitted). Such information may be sufficiently reliable to establish probable

cause where the informant has a “track record of providing accurate information,” where

his information is “at least partly corroborated” by the police, or where he has accurately

predicated certain events. United States v. Winarske, 715 F.3d 1063, 1067 (8th Cir.

2013). All three indicia of reliability were present in this case. The police had received

information from the CI that Oliver would be shipping cocaine packaged in silverware

boxes from Arizona to Minnesota via two-day priority mail, that Green or Williams

would likely mail those packages on Oliver’s behalf, and that Oliver’s gray BMW would

be transporting a large quantity of cocaine to Minneapolis on the night of November 30,

2014. (See Tr. at 75–81, 104–05; Gov’t Ex. 2 at 2; Gov’t Ex. 6 at 2.) Not only did the CI

have a track record of providing reliable information in the past, information that had led

to evidence, arrests, and felony convictions, but the informant’s information was

independently corroborated by the police. (See Gov’t Ex. 2 at 2.) Postal inspectors in

Minneapolis had seized two packages of cocaine that largely fit the CI’s description,

including the particular Arizona post office where one of those packages was mailed

from and the use of silverware boxes to conceal the drugs. (See id.; Tr. 79–80.) The

                                             17
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 18 of 44




police also spoke with Williams, who confessed to sending one of those packages, stated

that the intercepted drugs had been packaged by Oliver, and otherwise confirmed the CI’s

information. (See Tr. at 81; Gov’t Ex. 2 at 2.) And as the CI predicted, Oliver’s gray

BMW arrived in Minneapolis on the night of November 30, 2014. See United States v.

Brown, 49 F.3d 1346, 1349 (8th Cir. 1995) (holding that an informant’s information is

sufficient to establish probable cause where the informant accurately predicts the time

and place of certain events, even if those events are themselves innocent).

       The CI’s information, including that Oliver’s BMW would contain a large amount

of cocaine, was sufficiently reliable and more than adequate to provide probable cause to

search the vehicle for narcotics or other evidence of drug trafficking. 6 And once, during

the course of that search, the drug-sniffing dog alerted to the possible presence of

narcotics hidden inside a speaker in the trunk, the police had even more cause to seize the

BMW. Because the roadside search and seizure of Oliver’s BMW were justified under

the automobile exception to the Fourth Amendment’s warrant requirement, the cocaine

that was later found and seized on December 2, 2014, pursuant to a search warrant was



6
        For similar reasons, even if Oliver had standing to challenge the initial traffic stop
of the BMW, this Court would conclude that the stop was objectively justified based on
reasonable suspicion that the vehicle was involved in drug trafficking. See United States
v. Farnell, 701 F.3d 256, 261 (8th Cir. 2012) (explaining that an investigatory stop of a
vehicle may be based on “reasonable suspicion that criminal activity is afoot,” not only
for a traffic violation). Trooper Thul’s testimony that she stopped the vehicle for having
illegally tinted windows in no way affects that conclusion, as “the constitutional
reasonableness of a traffic stop does not depend on the actual motivations . . . [or]
subjective intentions of the officer making the stop.” United States v. Herrera-Gonzalez,
474 F.3d 1105, 1109 (8th Cir. 2007).

                                              18
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 19 of 44




not the fruit of any prior illegality. 7 The narcotics and other evidence recovered from

Oliver’s BMW are not subject to suppression under the Fourth Amendment. 8

B.     The Facial Validity of Premises and Cell Phone Warrants

       Oliver next challenges the facial validity of the warrants to search his residence,

hotel room, and properties for narcotics, cash proceeds, documents, and other items

indicative of a drug conspiracy. (Doc. No. 99 at 1–2, 11–17, 26–27.) He contends that the

affidavits in support of those warrants did not provide probable cause to believe that

contraband or evidence of a crime would be found in those locations. (Id. at 15.) More

specifically, he maintains that the affidavits did not provide any indication as to the CI’s

basis of knowledge or establish probable cause to believe that “any of the items noted in

the search warrants would be found at any of the various premises,” as the affidavits

neither claimed that “anyone ever saw, or heard of controlled substances being at any of

7
       The Court notes that, contrary to Oliver’s assertions, the record evidence shows
that no drugs were actually discovered and seized from his BMW until after the police
had obtained a warrant to search the impounded car on December 2, 2014. (See Tr. at 84–
85, 96–97, 99.)
8
       Because the search and seizure of the BMW were objectively justified under the
automobile exception, this Court need not decide whether they were also justified under
the inventory-search exception, as Officer Evans’ apparently believed. See United States
v. Arrocha, 713 F.3d 1159, 1162–63 (8th Cir. 2013) (explaining that the inventory-search
exception allows officers to search and impound an automobile without either a warrant
or probable cause, so long as they are acting according to standardized police procedures
and on the basis of something other than suspicion of evidence of criminal activity).
Indeed, the government has not presented any evidence, including any written police
department policies, to show that the asserted inventory search and impoundment of the
BMW were conducted pursuant to standard police procedures. See United States v.
Baldenegro-Valdez, 703 F.3d 1117, 1126 (8th Cir. 2013) (“[T]o be constitutional, a
warrantless inventory search must be done pursuant to standard police procedures and for
the purpose of protecting the car and its contents.”) (quotation and brackets omitted).

                                             19
     CASE 0:15-cr-00164-DSD-BRT            Doc. 117     Filed 10/13/15     Page 20 of 44




the locations,” nor mentioned media, cell phones, documents, mail, or any other listed

item. 9 (Id. at 11–12, 16, 21, 27.) Oliver also challenges the facial validity of the

subsequent warrant to search the cell phones seized by the police, arguing that the

supporting affidavit did not contain any “claim that the phones were utilized for any

criminal activity.” (Id. at 31.)

       A search warrant must be based on a showing of probable cause, which exists

when the supporting affidavit “sets forth sufficient facts to establish a fair probability that

contraband or evidence of a crime will be found in a particular place.” United States v.

Darr, 661 F.3d 375, 380 (8th Cir. 2011) (quoting Illinois v. Gates, 462 U.S. 213, 238


9
        Oliver further argues that the premises warrants should not have been issued as
no-knock warrants because the supporting affidavits did not provide reasonable suspicion
to believe that knocking and announcing the officers’ presence would threaten officer
safety or the preservation of evidence. (Doc. No. 99 at 22–24.) There is no need to
address that argument because, as the Supreme Court has held, a violation of the Fourth
Amendment’s general knock-and-announce rule does not warrant the suppression of
evidence. See Hudson v. Michigan, 547 U.S. 586, 599 (2006) (holding that “[r]esort to
the massive remedy of suppressing evidence of guilt is unjustified” for knock-and-
announce violations). In any event, Oliver’s argument lacks merit. Given the overall
reliability of the CI, the CI’s statements that Oliver had access to firearms and was
capable of killing someone, Williams’ statement that Oliver was “hysterical” about the
interdiction of his BMW, and the seriousness of the drug-trafficking offense that the
police were investigating, there was reasonable suspicion to believe that abiding by the
general knock-and-announce rule would pose threats to officer safety or of the
destruction of evidence. See United States v. Scroggins, 361 F.3d 1075, 1081 (8th Cir.
2004). Contrary to Oliver’s arguments, the fact that the warrant affidavits did not indicate
how the CI knew that he had access to firearms or otherwise claim that he “possessed any
firearms,” “committed any violent acts with a firearm in the past,” or “carried a weapon
on his person” do not obviate a finding of reasonable suspicion. (See Doc. No. 99 at 23–
24.) Reasonable suspicion is not a high standard; it simply requires a “particularized and
objective basis” under the “totality of the circumstances” to believe that knocking and
announcing would be “dangerous” or “would inhibit the effective investigation of the
crime.” Scroggins, 361 F.3d at 1081. That standard was met.

                                              20
       CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15    Page 21 of 44




(1983)). The task of the issuing judge “is simply to make a practical, commonsense

decision whether, given all the circumstances set forth in the affidavit before him,

including the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay

information,” such a fair probability exists. Gates, 462 U.S. at 238. While an informant’s

veracity and basis of knowledge are both relevant to the existence of probable cause, they

are not “independent requirements to be rigidly exacted in every case”; instead, “a

deficiency in one may be compensated for, in determining the overall reliability of a tip,

by a strong showing as to the other, or by some other indicia of reliability.” Id. at 230,

233. As previously noted, information supplied by an informant may be sufficiently

reliable to support a finding of probable cause where the informant has a “track record of

providing accurate information,” where the information is “at least partly corroborated,”

or where he has correctly predicted certain events. Winarske, 715 F.3d at 1067.

        As a reviewing court, the task of this Court is not to assess the sufficiency of the

warrant affidavits de novo, but “simply to ensure that the [issuing judge] had a substantial

basis for concluding that probable cause existed.” Gates, 462 U.S. at 236, 238–39

(quotation and alterations omitted). That standard affords “great deference” to an issuing

judge’s probable-cause determination, one that demands interpreting the supporting

affidavits with “commonsense” and not in a “grudging,” “hypertechnical” fashion. Id. at

236.

        Applying that deferential standard, this Court concludes that the affidavits in

support of the premises warrants provided a substantial basis for concluding that Oliver

was involved in drug trafficking and, by extension, that narcotics or other evidence of

                                              21
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 22 of 44




that crime would be found in his Dupont Avenue home, Washington and Broadway

Avenue buildings, and Marriott Hotel room. Sergeant Biederman’s supporting affidavits,

all of which were virtually identical, recounted the information provided by the CI; the

CI’s track record of providing reliable information in the past; and the investigative

efforts corroborating the CI’s information, including the packages of cocaine intercepted

by postal inspectors and the additional six kilograms of cocaine found in Oliver’s BMW.

(See, e.g., Gov’t Ex. 5 at 2.) The affidavits further indicated that “one of the people

involved in dropping the [intercepted] packages off at the post office” (i.e., Williams) had

“confirmed the [CI’s] information concerning the [intercepted] packages” and indicated

that Oliver had packaged the cocaine, knew about the six kilograms of cocaine that were

being transported in his car, and owned or occupied the various premises. (Id. at 2–3.)

Biederman also averred, based on his “training, experience, and . . . conversations with

other law enforcement officers,” that drug traffickers often keep “proceeds of their

narcotics sales” and “records and documents concerning their travels, vehicles,

associates, and real estate” in their homes, offices, and other locations “that they own or

control.” (Id. at 3.)

       The information contained in Sergeant Biederman’s affidavits was more than

adequate to support the issuing judge’s findings that probable cause existed to believe

that the items listed in the search warrants, including narcotics, documents, mailings,

address books, cell phones, and other media, would contain evidence of a drug

conspiracy and would be found in the locations owned or occupied by Oliver. See United

States v. Luloff, 15 F.3d 763, 768 (8th Cir. 1994) (holding that information that the

                                             22
     CASE 0:15-cr-00164-DSD-BRT            Doc. 117     Filed 10/13/15     Page 23 of 44




defendant was involved in drug trafficking, coupled with an officer’s “averment based

upon his experience that drug traffickers often keep in their residences records of their

illicit activity,” provided a substantial basis for finding probable cause to search the

defendant’s residence). Contrary to Oliver’s arguments, the fact that the affidavits did not

indicate that anyone actually observed narcotics at the locations or specifically mention

several of the items listed in the warrants is not fatal to the existence of probable cause.

Probable cause, as its very name implies, deals with probabilities based on reasonable,

commonsense inferences, not with certainties about the incriminating nature of items or

whether they are actually located in a particular place. See Maryland v. Pringle, 540 U.S.

366, 371 (2003) (explaining that probable cause requires only a “reasonable ground for

belief” based on probabilities, not the level of proof “which would justify

condemnation”) (quotation omitted); Hannah v. City of Overland, Mo., 795 F.2d 1385,

1389 (8th Cir. 1986) (“The probability, and not a prima facie showing, of criminal

activity is the standard of probable cause.”) (quotation and brackets omitted); United

States v. McClellan, 165 F.3d 535, 546 (7th Cir. 1999) (“[I]n issuing a search warrant, a

magistrate is entitled to draw reasonable inferences about where the evidence is likely to

be kept . . . and . . . in the case of drug dealers evidence is likely to be found where the

dealers live.”) (quotation and emphasis omitted); United States v. Williams, 974 F.2d 480

(4th Cir. 1992) (holding that an affidavit showing that the defendant was a drug dealer

and was currently residing in a motel room was sufficient to establish probable cause to

search the motel room for drug paraphernalia, even though the affidavit did not contain

any facts that such paraphernalia was located there). Moreover, some of the items that

                                              23
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 24 of 44




Oliver claims were not mentioned in the warrant affidavits (e.g., cell phones) were, in

fact, mentioned. 10

       Neither is it fatal to the existence of probable cause that the affidavits did not

specifically identify the CI’s basis of knowledge. As noted, an informant’s reliability,

veracity, and basis of knowledge “are not entirely separate and independent requirements

to be rigidly exacted in every case.” United States v. Stevens, 530 F.3d 714, 717 (8th Cir.

2008) (quoting Gates, 462 U.S. at 230). The “core question” in assessing probable cause

based on information supplied by an informant is simply “whether the information is

reliable,” which, for the reasons already explained, it was. Furthermore, an informant’s

basis of knowledge need not be expressly outlined in a warrant affidavit, as such a basis

may be inferred from the level of detail provided by the informant. See Spinelli v. United

States, 393 U.S. 410, 416 (1969) (explaining that where an informant’s tip describes a

suspect’s activities “in sufficient detail,” an issuing judge may “reasonably infer that the

informant gained his information in a reliable way”), abrogated on other grounds by

Gates, 462 U.S. 213. The wealth of details provided by the CI, including the precise post

office where one of the intercepted packages was mailed from, the use of silverware


10
        Sergeant Biederman’s affidavits noted that, following the stop of Oliver’s cocaine-
laden BMW, Rowe stated that he intended to phone Oliver when he arrived in
Minneapolis to return the vehicle and Williams stated that Oliver had phoned him to say
that the BMW contained six bricks of cocaine. (See, e.g., Gov’t Ex. 2 at 2–3.) Those
statements, not to mention the fact that cell phones are well-known tools of the drug
trade, provided substantial grounds for believing that Oliver had used cell phones for
drug-trafficking purposes and that the phones would be located in one or more of the
properties under his control. See United States v. Lazcano-Villalobos, 175 F.3d 838, 844
(10th Cir. 1999); United States v. De La Cruz, 996 F.2d 1307, 1311 (1st Cir. 1993).

                                              24
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 25 of 44




boxes to conceal the mailed cocaine, and the fact that Oliver’s gray BMW would be

arriving in Minneapolis with cocaine in tow on the night of November 30, 2014, was

sufficient to establish a basis of knowledge. (See Gov’t Ex. 5 at 2.)

       Oliver’s challenge to the validity of the warrant to search the cell phones seized by

the police fails for similar reasons. Officer Evans’ affidavit in support of that search

warrant also recounted the information obtained from the CI, the ten kilograms of cocaine

that had been seized from the intercepted packages and Oliver’s BMW, and Williams’

statements that Oliver had packaged the intercepted cocaine and had supplied him with a

phone “to conduct narcotics related business over.” (Gov’t Ex. 6 at 2.) That information,

coupled with the fact that cell phones are recognized tools of the drug trade, provided

sufficient grounds to believe that evidence relating to a drug conspiracy would be found

on the cell phones seized from the suspected conspirators, Oliver included. See Lazcano-

Villalobos, 175 F.3d at 844 (“[C]ellular telephones are recognized tools of the drug-

dealing trade.”); De La Cruz, 996 F.2d at 1311 (describing cell phones as “well known

tools of the drug trade”).

C.     Entitlement to a Franks Hearing

       In addition to attacking the facial validity of the search warrants involved in this

case, Oliver seeks to delve behind the surface to challenge specific statements or

omissions in the warrant affidavits in a hearing under Franks v. Delaware, 438 U.S. 154

(1978). (Doc. No. 103.) To warrant a Franks hearing, a defendant must make “a

substantial preliminary showing” that the affiant made “a false statement knowingly and

intentionally, or with reckless disregard for the truth,” and that “the allegedly false

                                              25
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 26 of 44




statement is necessary to the finding of probable cause.” Franks, 438 U.S. at 155–56.

When alleged omissions are involved, a defendant must show that the affiant “omitted

facts with the intent to make, or in reckless disregard of whether they thereby made, the

affidavit misleading” and that “the affidavit if supplemented by the omitted information

would not have been sufficient to support a finding of probable cause.” United States v.

Jacobs, 986 F.2d 1231, 1234 (8th Cir. 1993) (quoting United States v. Reivich, 793 F.2d

957, 960 (8th Cir. 1986)). For an omission itself to support an inference of recklessness

or intent to deceive, the omitted information must be “clearly critical to the finding of

probable cause.” Id. (quotation omitted). In addition, allegations of deliberate falsehoods

or omissions are not alone sufficient to warrant a Franks hearing; those allegations “must

be accompanied by an offer of proof” such as “[a]ffidavits or sworn or otherwise reliable

statements of witnesses.” Franks, 438 U.S. at 171.

       Oliver contends that the state court judge who issued the warrants to search his

BMW, residence, hotel room, and other properties was misled by several omissions in the

supporting affidavits. First and foremost, he maintains that the affidavits failed to disclose

that the cooperating witness (i.e., Williams) and the CI were the same person and that

Williams had personally mailed four kilograms of cocaine to Minnesota, not just the two

identified in the affidavits. (Doc. No. 104 at 3–11; see also Doc. No. 99 at 17–20.) Oliver

maintains that these omissions materially misrepresented Williams’ true role in the drug

conspiracy and underlying motives for assisting the police by portraying him as an

innocent tipster, rather than someone who “was cooperating with the police in an effort to



                                             26
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 27 of 44




extricate himself from the situation” after he was caught shipping drugs. (Doc. No. 104 at

3–5, 7, 11; see also Doc. No. 99 at 17–19.)

       The ostensible omissions cited by Oliver are either unsupported by any evidence

in the record or affirmatively belied by the record. This is not the first time that Oliver

has pressed the theory that Williams and the CI are the same person. When Oliver raised

that theory in a recent, unsuccessful bid to compel disclosure of the CI’s identity, this

Court rejected it as “mere speculation,” explaining that the warrant affidavits, Officer

Evans’ hearing testimony, and the government’s representations at the hearing all

indicated that Williams and the CI are separate people. (Doc. No. 96 at 8–9.) The warrant

affidavits clearly distinguish between the CI, who over the span of “several years” had

supplied reliable information to the police and “provided names of individuals who they

believed had dropped the cocaine off at the post office for Oliver,” and the cooperating

witness who was “one of the people involved in dropping the packages off at the post

office” and “confirmed the [CI’s] information.” (See, e.g., Gov’t Ex. 2 at 2.) At the

evidentiary hearing, Officer Evans identified Williams as the cooperating witness and her

testimony, like the warrant affidavits, clearly distinguished between Williams and the CI.

Officer Evans, for example, testified that “the [CI] provided information that Desmond

Williams and Jimmy Green were possibly involved in mailing the packages,” a sentiment

that she later reiterated on cross-examination. (Tr. at 79, 104–05.) In fact, when Oliver’s

attorney questioned Officer Evans about whether particular information was provided by

the CI or Williams, Evans replied, “[t]he [CI] indicated that.” (Id. at 114.)



                                              27
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 28 of 44




       Despite the absence of any new evidence to suggest that Williams and the CI are

the same person, Oliver persists in pressing that speculative theory, largely on the basis of

the warrant affidavits’ reference to “[t]his CRI” in a paragraph immediately following a

description of Williams’ interview on November 30, 2014. (Doc. No. 104 at 3–4; see also

Doc. No. 99 at 18.) In isolation, that phrase might well support an inference that Williams

and the CI are one and the same. But when viewed in the context of the affidavits as a

whole, not to mention the government’s representations 11 and Officer Evans’ testimony

at the evidentiary hearing, the admittedly ill-advised use of the pronoun “this” does not

provide a substantial preliminary basis for concluding that Williams and the CI are the

same person. 12

       Oliver’s contention that the warrant affidavits misrepresented Williams’ actual

role in the drug conspiracy is also unsupported by the record. The affidavits did not, as

Oliver maintains, mischaracterize the cooperating witness (i.e., Williams) as an innocent

party with no ulterior motive for assisting the police with their investigation. Instead, the

affidavits repeatedly refer to him as “one of the people involved in dropping the

[intercepted] packages [of cocaine] off at the post office” for Oliver. (See, e.g., Gov’t Ex.

2 at 2–3.) Nor did the affidavits minimize Williams’ known role in the drug conspiracy


11
       See Doc. No. 85 at 7–8; Doc. No. 108 at 22–23; Tr. at 18–19.
12
       In a self-contradictory turn, Oliver, after arguing at length that Williams and the
CI are the same person, maintains that the affidavits misrepresented Williams as the CI.
(Doc. No. 104 at 10; see also Doc. No. 99 at 18.) Notwithstanding the inherent
contradiction between those two positions, Oliver’s argument is belied by the very terms
of the warrant affidavits, which clearly distinguish between Williams and the CI.

                                              28
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 29 of 44




by indicating that he had mailed only one of the two intercepted packages of cocaine.

While Oliver cites Officer Evans’ hearing testimony and Williams’ recent plea agreement

as proof that Williams sent a total of four kilograms of cocaine to Minnesota, neither

source actually supports his position. (See Doc. No. 104 at 3, 5–7.) At the evidentiary

hearing, Officer Evans, consistent with the information contained in the warrant

affidavits, testified that each of the intercepted packages contained two kilograms of

cocaine, for a total of four kilograms, and that Williams told the police that “Jimmy

Green had mailed one of the packages . . . and that he mailed the other package of

cocaine.” (Tr. at 79–81.) And Williams’ recent plea agreement, consistent with both the

warrant affidavits and Officer Evans’ testimony, likewise indicates that he only mailed

one of the two intercepted packages. In his plea agreement, as well as at his plea hearing,

Williams admitted that he conspired with Oliver and Green to distribute cocaine and that,

“on at least one occasion in November 2014,” he and Green had each mailed a package

containing two kilograms of cocaine to Minnesota. (Doc. No. 84 at 2; Doc. No. 95 at 12.)

Williams’ acknowledgement that he was “responsible for conspiring to distribute at least

4 kilograms of cocaine as part of the conspiracy” was not an admission that he personally

mailed the two intercepted packages to Minnesota, as Oliver insists, but a reflection of

the established legal principle that a single conspirator is responsible for the known or

foreseeable actions of his co-conspirators. (See Doc. No. 84 at 2) (emphasis added);

United States v. Correa-Santos, 785 F.3d 307, 310 (8th Cir. 2015) (explaining that a

single defendant in a drug conspiracy case is responsible for any drugs “in which the

defendant was not directly involved” so long as “the transaction or activity involving

                                             29
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 30 of 44




those drugs was in furtherance of the conspiracy” and was “either known to that

defendant or reasonably foreseeable to him”); United States v. Yellow Horse, 774 F.3d

493, 496 (8th Cir. 2014) (same).

       Aside from the alleged and unsupported omissions concerning Williams, Oliver

also contends that the state judge was specifically misled when issuing the search warrant

for his BMW because the supporting affidavit did not mention that the vehicle had been

stopped, searched, and seized on November 30, 2014, and that drugs had already been

found in the car. (Doc. No. 104 at 12–13; see also Doc. No. 99 at 20.) That contention,

like Oliver’s other contentions in support of a Franks hearing, is based on a misreading of

the record. First, the warrant affidavit does indeed indicate that the BMW had been

stopped on November 30, 2014, and then taken to an impound lot. (See Gov’t Ex. 1 at 1–

2.) Second, while the affidavit does not mention that the BMW was searched prior to its

impoundment, that omission is immaterial because, contrary to Oliver’s assertions, no

drugs were actually found in and recovered from the car until after the search warrant

was obtained. The roadside search of the BMW did yield a positive canine alert for the

possible presence of narcotics, but no drugs were actually discovered and seized from the

car before the police obtained a warrant to search it. (See Tr. at 84–85, 96–97, 99.) And

the supporting affidavit’s failure to mention the canine alert is not a material omission

whose inclusion would have detracted from a finding of probable cause. Rather than

undermining a probable-cause finding, including information about the canine alert

would have added additional grounds for suspecting that the BMW contained contraband.



                                             30
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 31 of 44




       In sum, the omissions cited by Oliver are either not supported by the record, are

affirmatively belied by the record, or are immaterial to the existence of probable cause.

Accordingly, he has not made the “substantial preliminary showing” needed to warrant a

Franks hearing. 13

D.     The Seizure of Cell Phones from Oliver’s Hotel Room

       Finally, Oliver seeks to suppress evidence obtained from the cell phones seized by

the police while executing the warrant to search his hotel room. (Doc. No. 99 at 2, 10–

11.) He contends that the phones were seized pursuant to his unlawful, warrantless arrest

and were outside the scope of the search warrant. (Id. at 10–11, 30–31.)

       As an initial matter, the record indicates that no cell phones were recovered from

Oliver’s person following his arrest in the hotel room. Instead, all five of the cell phones

seized during the execution of the search warrant were found on the hotel room bed. (See

Gov’t Ex. 5 at 6.) So far as the record shows, the only items seized from Oliver’s person

13
        In addition to Oliver’s failure to meet his initial burden under Franks, his motion
for a Franks hearing is also untimely. Per the Court’s amended scheduling order, all
motions in this case had to be filed by July 6, 2015. (Doc. No. 30, Am. Scheduling Order
¶ 3.) Although Oliver’s amended motion to suppress evidence appeared to raise a Franks
issue (see Doc. No. 74 at 1, 10), he subsequently acknowledged at the motions hearing
that he had not formally moved for a Franks hearing and confirmed that he was not
raising a Franks issue at that time. (See Tr. at 26–27.) Despite those representations, and
despite the fact that the parties’ post-hearing briefs were limited to the suppression issues
actually addressed at the hearing, Oliver’s post-hearing brief attempted to raise a Franks
issue. (See Doc. No. 99 at 16–20.) Oliver later filed a motion for a Franks hearing on
September 1, 2015, well after the July 6, 2015 deadline had expired. And he did so
without requesting an extension of the motions’ deadline based on a showing of good
cause. See Fed. R. Crim. P. 16(b)(3)–(4) (providing that the Court must issue a
scheduling order that “limit[s] the time to join other parties, amend the pleadings,
complete discovery, and file motions,” and that the order “may be modified only for good
cause and with the judge’s consent”).

                                             31
       CASE 0:15-cr-00164-DSD-BRT            Doc. 117   Filed 10/13/15     Page 32 of 44




were cash, a driver’s license, and credit cards, none of which the government intends to

introduce in its case-in-chief at trial. (See id.; Tr. at 33–34.) Oliver’s request to suppress

evidence seized pursuant to his arrest is therefore moot, obviating any need for this Court

to consider the legality of his arrest. 14

        With regard to Oliver’s remaining argument, the search warrant for the hotel room

specifically authorized the seizure of narcotics, proceeds from the sale of narcotics, and

“[d]ocuments, mails, keys, address books, notes, receipts, ledgers, photographs, and other

media” indicative of criminal activity. (Gov’t Ex. 5 at 5) (emphasis added). The parties

dispute whether “media” includes the five cell phones seized by the police from the hotel

room bed. Oliver argues that “[m]edia refers to items such as disc drives, CDs, and

information utilized by computers,” not cell phones. (Doc. 103 at 31.) The government

responds that Oliver’s argument “ignores the reality that cell phones are mini computers”

that can store address books, photographs, and notes, meaning that the cell phones were

“within the scope of the warrant whether specifically listed or not.” (Doc. No. 108 at 17–

18.)

        This Court need not decide whether cell phones qualify as “media,” either as a

matter of general English usage or within the specific confines of the search warrant,


14
       This Court nevertheless notes that, even if the issue had to be resolved in deciding
Oliver’s suppression motion, it would conclude that the arrest was lawful because, as
previously explained, there was ample probable cause to believe that Oliver was involved
in drug trafficking. See Fagnan v. City of Lino Lakes, Minn., 745 F.3d 318, 324–25 (8th
Cir. 2014) (explaining that officers may, during the execution of a search warrant,
conduct a warrantless arrest if there is probable cause to believe that the arrestee has
committed a crime).

                                               32
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 33 of 44




because the validity of the cell phones’ seizure does not ultimately hinge on that question.

The reason is twofold. First, officers do not necessarily exceed the scope of a search

warrant by seizing items that are not specifically mentioned in the warrant, so long as

those items may contain things that are. In United States v. Gamboa, 439 F.3d 796 (8th

Cir. 2006), officers obtained a warrant to search a particular location for “firearms, items

related to the possession of firearms, indicia of occupancy, records of the use or purchase

of controlled substances, and computer hardware, software, and accessories.” Id. at 805.

Although officers later seized several cell phones, which were not mentioned in the

warrant, the Eighth Circuit held that the seizure did not exceed the scope of the warrant

because “cell phones may well contain ‘records of the use and purchase of controlled

substances.’” Id. at 807. The same is true here. The cell phones seized from Oliver’s hotel

room, though not themselves mentioned in the search warrant, may well contain

“[d]ocuments, . . . address books, notes, receipts, ledgers, [or] photographs” related to

drug trafficking, all of which were specified in the warrant.

       Second, even if the officers had exceeded the scope of the search warrant when

they seized the cell phones, those seizures were otherwise permissible under the plain-

view exception to the Fourth Amendment’s warrant requirement. Under that exception,

police may seize an object without a warrant if they “are lawfully in a position from

which they view [the] object, if its incriminating character is immediately apparent, and if

the officers have a lawful right of access to the object.” Minnesota v. Dickerson, 508 U.S.

366, 375 (1993). Despite its name, the “immediately apparent” requirement does not

require that the police know with any degree of certainty that “certain items are

                                             33
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 34 of 44




contraband or evidence of a crime,” but only that they possess probable cause to believe

that they “may be contraband or stolen property or useful as evidence of a crime.” Texas

v. Brown, 460 U.S. 730, 741–42 (1983); see also United States v. Weinvender, 109 F.3d

1327, 1330 (8th Cir. 1997) (“The ‘immediately apparent’ requirement means that officers

must have probable cause to associate the property with criminal activity.”) (quotation

omitted). The plain-view doctrine reflects the fact that, once a lawful search is underway,

“it would often be a needless inconvenience, and sometimes dangerous—to the evidence

or to the police themselves—to require [the police] to ignore [a piece of evidence] until

they have obtained a warrant particularly describing it.” Coolidge v. New Hampshire, 403

U.S. 443, 467–68 (1971); accord Brown, 460 U.S. at 739.

       Officers were lawfully present in Oliver’s hotel room pursuant to a search warrant

when they observed the cell phones in plain view on the bed. The incriminating character

of the cell phones would have been immediately apparent to the police, as they had

probable cause to believe that the phones were connected to drug-trafficking activity.

Prior to the execution of the warrant, Williams told the police that Oliver supplied him

with a cell phone to use for narcotics-related business and phoned him to discuss the

cocaine transported in his BMW. (See Gov’t Ex. 2 at 3; Gov’t Ex. 6 at 2.) In addition, the

simultaneous presence of five cell phones on the hotel room bed was inherently

suspicious, particularly in light of the generally known fact that cell phones are often

tools of the drug trade. See United States v. Hernandez-Mendoza, 600 F.3d 971, 977 (8th

Cir. 2010) (“[D]rug traffickers typically carry multiple cell phones to allow for the

disposal of one or more, if necessary to avoid detection.”); Lazcano-Villalobos, 175 F.3d

                                             34
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15    Page 35 of 44




at 844 (“[C]ellular telephones are recognized tools of the drug-dealing trade.”); De La

Cruz, 996 F.2d at 1311 (describing cell phones as “well known tools of the drug trade”).

Because the officers, immediately upon seeing the cell phones in plain view, would have

had probable cause to suspect that they might contain evidence of a drug-trafficking

crime, they were authorized to seize the cell phones without a warrant under the plain-

view doctrine. 15 See United States v. Delva, 13 F. Supp. 3d 269, 276 (S.D.N.Y. 2014)

(noting that courts have routinely upheld the warrantless, plain-view seizures of cell

phones “in the context of narcotics conspiracies, based on knowledge that the phones

may contain contacts and other evidence of a crime”); United States v. Lisbon, 835 F.

Supp. 2d 1329, 1363 (N.D. Ga. 2001) (concluding that cell phones found in plain view

were properly seized without a warrant because “cell phones are ‘a known tool of the

drug trade’”) (quoting United States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990); United

States v. Santillan, 571 F. Supp. 2d 1093, 1100–01 (D. Ariz. 2008) (“[C]ell phones and

pagers in drug-trafficking investigations may come within the plain view exception to the

warrant requirement as items akin to contraband, in that they are often tools of the drug-

trafficking trade.”).



15
       Oliver cites Riley v. California, — U.S. —, 134 S. Ct. 2473 (2014), for the
proposition that the police may never seize a cell phone without a warrant. (See Doc.
No. 99 at 10, 30.) Riley stands for no such thing. In Riley, the Supreme Court held that
while officers may seize a cell phone incident to a person’s arrest, they generally must
secure a warrant before searching its contents. 134 S. Ct. at 2485–86. That is precisely
what the police did in this case. They lawfully seized the cell phones pursuant to either
the hotel room search warrant or the plain-view doctrine, and then obtained a warrant to
search the data stored on those phones.

                                            35
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15     Page 36 of 44




              III. Green’s Motions to Suppress Evidence and Statements

       Defendant Green moves to suppress the cell phone seized incident to his arrest and

the custodial statement he subsequently gave to law enforcement on December 3, 2014.

(Doc. No. 100, Green’s Memo. in Supp. of Mot. to Suppress Evid. 3–7.)

A.     Green’s Arrest

       Green contends that his arrest was not supported by probable cause and, thus, that

the cell phone seized incident to that arrest must be suppressed under the Fourth

Amendment. (Id. at 3–5, 7.) He maintains that, at the time of his warrantless arrest, law

enforcement only had information that he was present when narcotics were allegedly

packaged by Oliver, not that he “knew narcotics were being packaged,” “saw narcotics

being packaged,” or “knew that the packages he and Williams took to the post office

contained narcotics.” (Id. at 4.) Green argues that such “mere presence . . . is insufficient

to establish membership in a conspiracy” and, thus, that the police lacked probable cause

to believe that he had committed a crime. (Id. at 4–5.)

       Under the Fourth Amendment, the police may conduct a warrantless arrest if there

is probable cause to believe that the arrestee has committed a crime. Peterson v. Kopp,

754 F.3d 594, 598 (8th Cir. 2014). “Probable cause exists when a police officer has

reasonably trustworthy information that is sufficient to lead a person of reasonable

caution to believe that the suspect has committed or is committing a crime.” Veatch v.

Bartels Lutheran Home, 627 F.3d 1254, 1257 (8th Cir. 2010). Once a lawful arrest is

made, officers may automatically search the arrestee’s person and seize any items found.

See United States v. Robinson, 414 U.S. 218, 224 (1973).

                                             36
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15    Page 37 of 44




       This Court concludes that the police had probable cause to believe that Green was

involved in drug trafficking and, thus, were authorized to arrest him and seize his cell

phone incident to that lawful arrest. As already explained with respect to Oliver’s

challenges to the existence of probable cause, the police had reasonably trustworthy

information from both the CI and Williams that Green had mailed packages of cocaine on

Oliver’s behalf, including one of the two packages intercepted by postal inspectors, and

that Green was present when Oliver packaged the four kilograms of cocaine that were

ultimately intercepted. (See Gov’t Ex. 2 at 2; Gov’t Ex. 6 at 2; Tr. at 78–81, 104–05,

108–09.) The police had also found six kilograms of cocaine in Oliver’s BMW along

with a receipt for new tires in Green’s name dated just two days before the BMW was

stopped and seized. (See Gov’t Ex. 1 at 5; Gov’t Ex. 2 at 2–3; Tr. at 100.) Green’s arrest

was not, as he claims, based solely on his alleged presence when Oliver was packaging

cocaine; instead, the police also knew that he mailed one of the intercepted packages of

cocaine and purchased new tires for Oliver’s BMW shortly before it was caught

transporting narcotics.

       Furthermore, Green’s presence when the cocaine was packaged was alone

sufficient to establish probable cause to support his arrest. Green’s “mere presence”

argument relies on the Eighth Circuit’s decision in United States v. Ruiz-Zarate, 678 F.3d

683, 690 (8th Cir. 2012), which held that “a defendant’s mere presence, coupled with the

knowledge that someone else who is present intends to sell drugs,” is insufficient to

support a conviction for conspiring to distribute drugs. Probable cause, however, does not

demand the same level of proof required to sustain a conviction, but only a “reasonable

                                             37
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 38 of 44




ground for belief of guilt.” Pringle, 540 U.S. at 371 (quotation omitted); see also Gates,

462 U.S. at 235 (explaining that probable cause “means less than evidence which would

justify condemnation” or “the quanta of proof” required in “formal trials,” as “only the

probability, and not a prima facie showing, of criminal activity is the standard of probable

cause”) (quotations and alterations omitted). And presence alone may provide a sufficient

ground for belief in guilt where it occurs under circumstances that support a reasonable

inference of participation in criminal activity. See Pringle, 540 U.S. at 371–72 (holding

that officers had probable cause to arrest one of three occupants of a car, which was

found to contain “$763 of rolled-up cash in the glove compartment” and five bags of

cocaine “behind the back-seat armrests,” because it was reasonable to infer from these

facts alone that “any or all three of the occupants had knowledge of, and exercised

dominion and control over, the cocaine”); United States v. Clark, 754 F.2d 789, 791–92

(8th Cir. 1984) (explaining that while “mere association with a known or suspected

criminal, or mere presence in that person’s automobile, does not create probable cause to

arrest,” presence under circumstances where it is reasonable to conclude that the

defendant “was aware of the criminal nature of the transaction” is enough).

       As the Ninth Circuit has explained, “association with persons engaging in criminal

activity” may give rise to probable cause where there are “some additional circumstances

from which it is reasonable to infer participation in criminal enterprise,” including where

“the known criminal activity was contemporaneous with the association” or where “the

nature of the criminal activity is such that it could not normally be carried on without the

knowledge of all persons present.” United States v. Hillison, 733 F.2d 692, 697 (9th Cir.

                                             38
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 39 of 44




1984). Green’s presence while Oliver was packaging cocaine, not to mention his alleged

mailing of one of those packages, was sufficient by itself to support a reasonable

inference that he was aware of the illicit contents of those packages and, thus, a knowing

participant in drug trafficking. See Pringle, 540 U.S. at 371–72 (holding that where a

defendant was a passenger in a car containing bags of cocaine, it was “an entirely

reasonable inference” to believe that he “had knowledge of . . . the cocaine”). Because

the police had probable cause to arrest Green for his suspected involvement in drug

trafficking, they were entitled to seize the cell phone found on his person incident to his

lawful arrest.

B.     Green’s Custodial Statements

       Green also moves to suppress his post-arrest statements to the police, claiming that

the interviewing officers violated his Fifth Amendment right to remain silent when they

continued to question him after he said he was “done talking.” (Doc. No. 100 at 5–6.)

       “[O]nce a person in custody has invoked his right to remain silent, admissibility of

any subsequent statements depends on whether his ‘right to cut off questioning’ was

‘scrupulously honored.’” United States v. Sawyer, 588 F.3d 548, 554 (8th Cir. 2009)

(quoting Michigan v. Mosley, 423 U.S. 96, 104 (1975)). Police, however, are only

required to cease questioning if the defendant has unequivocally invoked his Fifth

Amendment right “through a clear, consistent expression of a desire to remain silent.”

United States v. Ferrer-Montoya, 483 F.3d 565, 569 (8th Cir. 2007) (quoting United

States v. Thompson, 866 F.2d 268, 272 (8th Cir. 1989)). “Indirect, ambiguous, and

equivocal statements or assertions of an intent to exercise the right to remain silent are

                                             39
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117    Filed 10/13/15    Page 40 of 44




not enough,” nor is “[b]eing evasive and reluctant to talk.” Id. In determining whether a

defendant has unambiguously invoked his right to remain silent, his statements must be

considered as a whole. Simmons v. Bowersox, 235 F.3d 1124, 1131 (8th Cir. 2001). If a

reasonable officer confronted with a defendant’s statements, taken as whole, “would have

understood only that the suspect might be invoking” his right to remain silent, the Fifth

Amendment does “not require the cessation of questioning.” See Davis v. United States,

512 U.S. 452, 459 (1994).

       On December 3, 2014, Green was interviewed at the Hennepin County Jail by

Sergeant Biederman and Officer Evans. (See Gov’t Ex. 7.) At the outset of the audio-

recorded interview, Green was advised of his Miranda rights, stated that he understood

them, and began answering the officers’ questions. (Id.) Approximately five minutes into

the eighteen-minute interview, and after Green was confronted with the evidence against

him, the following exchange took place:

       Biederman: The only thing I want from you is the truth. I know that
                  you’re not the kingpin of this operation . . . . This is the one
                  time we’re coming to talk to you. You have some serious life
                  choices to make, Jimmy. . . . You need to think about this and
                  think about your answers very carefully.

       Green:        Man, I’m done talking. I ain’t talking no more anyway. 16 I
                     can go back to my cell. Whatever I did . . . .

16
       The audio recording of Green’s interrogation is often murky, making it difficult to
discern precisely what is being said. It is therefore not entirely clear whether Green
actually stated that he was “done talking” and “ain’t talking no more anyway.” Green
maintains that he said the former, but has not otherwise transcribed any part of his
interview. (See Doc. No. 100 at 5–6.) The government’s attempt to transcribe the relevant
portions of the interview does not acknowledge that Green said he was “done talking,”
instead referring to that specific segment of the audio recording as unintelligible. (See
                                                         (Footnote Continued on Next Page)
                                            40
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117       Filed 10/13/15   Page 41 of 44




       Evans:        [Interrupting] How old are you Jimmy?

       Green:        I’m sixty six and I ain’t trying nothing . . . . I know everybody
                     here, whatever I know it ain’t got nothing to do with me
                     doing nothing cuz I ain’t got . . .

       Evans:        [unintelligible]

       Biederman: This is going to make more sense to you when we drive you
                  over to the U.S. Marshals and you see you’re in federal court.

       Green:        Well, what you saying then? What do you have to say then?

       Biederman: I want to know . . .

       Green:        Ain’t nothing to say. Ain’t nothing to know then, if you say
                     you know everything, why am I in here?

       Biederman: So you can cooperate.

       Green:        Cooperate how?

       Biederman: Who’s this guy [showing Green a photograph]?

       Green:        Who do you care who he is? You just showed me a picture,
                     you all got to know who they are. Why you asking me double
                     questions? You know who he is, you know who he is, you
                     know who he is, you know who he is, so what’s the problem?

For the remainder of the interview Green continued to answer the officers’ questions

without expressing any desire to remain silent. (Id.)




(Footnote Continued from Previous Page)
Doc. No. 109 at 6.) This Court has done its best to parse the audio recording and has
given Green the benefit of the doubt when construing his statements to the interviewing
officers. Further analysis of the audio recording with sophisticated software that is not
readily available to this Court may better reveal what Green actually said during the
interview.

                                             41
     CASE 0:15-cr-00164-DSD-BRT           Doc. 117     Filed 10/13/15    Page 42 of 44




       Green’s statements, taken as a whole, did not express a clear, consistent, and

unambiguous desire to remain silent, one sufficient to unequivocally invoke his Fifth

Amendment rights and require the police to cease further questioning. Had Green said

nothing more than “I’m done talking,” his statements might be interpreted as expressing a

clear and unambiguous desire to remain silent. That, however, is not all that Green said

and did. Green continued to talk about his involvement in the alleged drug conspiracy,

stating “Whatever I did . . . ,” only to be interrupted by Officer Evans’ question regarding

his age. After answering that question, Green kept talking without further prompting and

suggested that the reason he had “nothing to say” was because the drug conspiracy had

“nothing to do with [him]” and the police already “kn[e]w everything.” Statements like

these are not sufficient to clearly and unambiguously invoke one’s right to remain silent,

and they cast sufficient doubt on whether Green, despite his earlier statements, was

actually invoking his right to remain silent or simply indicating that he had nothing to say

because he was not involved in the drug conspiracy. See Fare v. Michael C., 442 U.S.

707, 727 (1979) (explaining that a juvenile’s statements “that he could not, or would not,

answer the question . . . were not assertions of his right to remain silent”); Simmons, 235

F.3d at 1131 (“A denial of knowledge does not constitute an assertion of the right to

remain silent.”); United States v. Johnson, 56 F.3d 947, 955 (8th Cir. 1995) (holding that

a defendant’s statements that he did not “need to say anything” because the police had

“all the evidence against [him]” fell “far short of a clear or unequivocal expression of the

right to remain silent”). Indeed, Officer Evans testified at the evidentiary hearing that she



                                             42
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 43 of 44




and Sergeant Biederman continued to question Green because “he kept talking to us.”

(Tr. at 112.)

       A reasonable officer faced with Green’s statements, taken as a whole, “would have

understood only that [he] might be invoking” his right to remain silent, not that he was

actually doing so. See Davis, 512 U.S. at 459; see also Thompson, 866 F.2d at 271–72

(holding that a defendant did not clearly and consistently invoke his right to remain silent

where, after requesting that questioning be deferred until tomorrow, he effectively

reversed that request by continuing to talk); United States v. Williams, 690 F. Supp. 2d

829, 836 (D. Minn. 2012) (holding that a defendant did not unequivocally invoke her

right to remain silent where, after she stated “‘I’m done answering questions, I’m sorry,

goodbye,’” she “quickly launche[d] into a monologue explaining her situation and

claiming “‘I didn’t do anything’”). While it may have been prudent for the police to seek

to clarify whether Green wished to invoke his right to remain silent, “[t]he police are not

required to . . . ask questions to clarify whether the accused wants to invoke his or her

Miranda rights.” Berghuis v. Thompkins, 560 U.S. 370, 381 (2010). Because Green’s

statements as a whole did not clearly, consistently, and unambiguously invoke his right to

remain silent, the police were not required under the Fifth Amendment to terminate the

interrogation.

                                 RECOMMENDATION

       Based on the foregoing, and on all of the files, records, and proceedings herein, IT

IS HEREBY RECOMMENDED that:



                                             43
     CASE 0:15-cr-00164-DSD-BRT          Doc. 117     Filed 10/13/15     Page 44 of 44




       1.     Defendant Houston Oliver’s Amended Motion to Suppress Evidence (Doc.

No. 74) and Motion for a Franks Hearing (Doc. No. 103) be DENIED; and

       2.     Defendant James Green’s Motion to Suppress Evidence (Doc. No. 54),

Motion to Suppress Statements (Doc. No. 55), and Supplemental Motion to Suppress

Evidence (Doc. No. 81) be DENIED.



Date: October 13, 2015


                                              s/ Becky R. Thorson
                                              BECKY R. THORSON
                                              United States Magistrate Judge



                                         NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the
District Court and is therefore not appealable directly to the Eighth Circuit Court of
Appeals. Under Local Rule 72.2(b), any party may file and serve specific written
objections to this Report and Recommendation by October 27, 2015. A party may
respond to those objections within fourteen days after service thereof. All objections and
responses must comply with the word or line limits set forth in LR 72.2(c).

Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report
will be considered under advisement from the earlier of: (1) 14 days after the objections
are filed; or (2) from the date a timely response is filed.




                                             44
